        Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 1 of 22




                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530


                                                      August 24, 2021

John M. Pierce
Pierce Bainbridge P.C.
355 South Grand Avenue, 44th Floor
Los Angeles, CA 90071

       Re:     United States v. Peter Schwartz
               Case No. 21-cr-178-AMP

Counsel:

        I am writing to follow up on my email inquiries to Pierce Bainbridge dated August 16th,
August 19th, and August 20th, 2021, and to memorialize the discovery that has been provided to
prior counsel in the above-captioned case to date.

         Preliminary discovery has been provided on a rolling basis beginning on May 24, 2021
and is available via a shared USAfx folder titled “Schwartz, Peter – Discovery.” Please note
that in an effort to provide these preliminary materials expeditiously, they were not Bates-
stamped prior to providing them. Bates-stamped materials will be provided to you at a later date
through USAO-DC’s formalized discovery process.

      On May 24, 2021, non-sensitive materials were provided in a USAfx subfolder labeled
“Non-Sensitive,” including 167 files as listed in Addendum A.

       On May 24, 2021, sensitive materials were also provided in a USAfx subfolder labeled
“Sensitive,” including 26 files as listed in Addendum B. Please note that all materials
designated as “sensitive” are subject to the protective order issued in this case on April 1, 2021.

         On May 24, 2021, highly-sensitive materials were additionally provided in a USAfx
subfolder labeled “Highly-Sensitive,” including 15 files as listed in Addendum C. Please note
that all materials designated as “sensitive” are subject to the protective order issued in this case
on April 1, 2021.
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        On May 25, 2021, Grand Jury materials were provided in a USAfx subfolder labeled “GJ
Materials,” including 14 files as listed in Addendum D. Please note that all Grand Jury
materials are deemed to be sensitive and subject to the protective order issued in this case on
April 1, 2021.

       On June 25, 2021, additional non-sensitive materials were provided in a USAfx subfolder
labeled “6.25.21 Production” including 12 files as listed in Addendum E.

         Also on June 25, 2021, prior counsel was provided with two separate links from
Evidence.com allowing counsel to access and download Body Worn Camera video files
recorded by Metropolitan Police Department Officers on January 6, 2021 on the Lower West
Terrace in and around the time that defendant Schwartz is believed to have been present. The
first link provided access to 176 video files as listed in Addendum F. The second link provided
access to 111 video files as listed in Addendum G.

        The above-listed items summarize the materials provided to prior counsel as part of the
preliminary discovery process. If these items were not transferred when you received the file
from prior counsel, please let me know and I will be happy to re-upload the materials for you to
access directly. There are also additional discovery materials that USAO-DC intends to provide
with respect to Mr. Shwartz’s case. However, in order to receive those materials, Pierce
Bainbridge will have to provide a point-of-contact within the firm to access materials via USAfx.
Please let me know who in your firm will be the designee for discovery in this case.

        As noted previously, the materials provided thus far are not Bates-stamped at this time.
In the future you will be receiving duplicate copies of the above-described materials that have
been Bates-stamped as part of our formalized discovery process.

        Voluminous Materials. Due to the extraordinary nature of the January 6, 2021 Capitol
Attack, the government anticipates that a large volume of materials may contain information
relevant to this prosecution. These materials may include, but are not limited to, surveillance
video, body worn camera footage, statements of similarly situated defendants, forensic searches
of electronic devices and social media accounts of similarly situated defendants, and citizen tips.
The government is working to develop a system that will facilitate access to these materials. In
the meantime, please let me know of any specific information that you believe is particularly
relevant to your client.

        Protective Order. This material is subject to the terms of the Protective Order issued in
this case on April 1, 2021.

        Timing of Disclosures. I recognize the government’s discovery obligations under Brady
v. Maryland, 373 U.S. 83 (1963), its progeny, and Rule 16. I will provide timely disclosure if
any such material comes to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will
provide information about government witnesses prior to trial and in compliance with the court’s
trial management order.

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         Reciprocal Discovery. I request reciprocal discovery to the fullest extent provided by
Rule 16 of the Federal Rules of Criminal Procedure, including results or reports of any physical
or mental examinations, or scientific tests or experiments, and any expert witness summaries. I
also request that defendant(s) disclose prior statements of any witnesses defendant(s) intends to
call to testify at any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S.
255 (1975). I request that such material be provided on the same basis upon which the
government will provide defendant(s) with materials relating to government witnesses.

        Notice of Defenses. Additionally, pursuant to Federal Rules of Criminal Procedure 12.1,
12.2, and 12.3, I request that defendant(s) provide the government with the appropriate written
notice if defendant(s) plans to use one of the defenses referenced in those rules. Please provide
any notice within the time period required by the Rules or allowed by the Court for the filing of
any pretrial motions.

        The above information summarizes the discovery that has been provided to-date with
respect to Mr. Schwartz; I will continue to provide you with discovery as it becomes available.
Please do not hesitate to reach out if you have questions.


                                                      Sincerely,


                                                             /s/ Jocelyn Bond
                                                      Jocelyn Bond
                                                      Assistant United States Attorney

Enclosure(s): Addenda A-G
cc:\




                                                 3
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        Addendum A - May 24, 2021
Serial Title                                                        File Name
      1                                                             0176-WF-3366759-SCHWARTZ_0000001.pdf
      2                                                          ; S0176-WF-3366759-SCHWARTZ_0000002.pdf
      4                                                             0176-WF-3366759-SCHWARTZ_0000004.pdf
      4                                                             0176-WF-3366759-SCHWARTZ_0000004_1A0000002_0000001.pdf
      4                                                             0176-WF-3366759-SCHWARTZ_0000004_1A0000004_0000001.JPG
      4                                                             0176-WF-3366759-SCHWARTZ_0000004_1A0000003_0000001.mp4
      4                                                             0176-WF-3366759-SCHWARTZ_0000004_1A0000003_0000002.JPG
      5                                                             0176-WF-3366759-SCHWARTZ_0000005.pdf
      5                                                             0176-WF-3366759-SCHWARTZ_0000005_1A0000005_0000001.pdf
      5                                                             0176-WF-3366759-SCHWARTZ_0000005_1A0000006_0000001.mp4
      5                                                             0176-WF-3366759-SCHWARTZ_0000005_1A0000007_0000001.PNG
      5                                                             0176-WF-3366759-SCHWARTZ_0000005_1A0000006_0000002.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006.pdf
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000001.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000002.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000003.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000004.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000005.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000006.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000007.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000008.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000009.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000010.JPG
      6                                                             0176-WF-3366759-SCHWARTZ_0000006_1A0000008_0000011.JPG
      7                                                             0176-WF-3366759-SCHWARTZ_0000007.pdf
      8                                                             0176-WF-3366759-SCHWARTZ_0000008.pdf
      9                                                             0176-WF-3366759-SCHWARTZ_0000009.pdf
     10                                                             0176-WF-3366759-SCHWARTZ_0000010.pdf
     11                                                             0176-WF-3366759-SCHWARTZ_0000011.pdf
     12                                                             0176-WF-3366759-SCHWARTZ_0000012.pdf
     12                                                             0176-WF-3366759-SCHWARTZ_0000012_1A0000001_0000001.pdf
     13                                                           20176-WF-3366759-SCHWARTZ_0000013.pdf
     13                                                             0176-WF-3366759-SCHWARTZ_0000013_Import.pdf
     13                                                             0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000004.png
     Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 5 of 22


13                                 0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000011.jpg
14                                 0176-WF-3366759-SCHWARTZ_0000014.pdf
15                                 0176-WF-3366759-SCHWARTZ_0000015.pdf
16                                 0176-WF-3366759-SCHWARTZ_0000016.pdf
18                                 0176-WF-3366759-SCHWARTZ_0000018.pdf
18                                 0176-WF-3366759-SCHWARTZ_0000018_1A0005227_0000001.PNG
18                                 0176-WF-3366759-SCHWARTZ_0000018_1A0005225_0000001.pdf
18                                 0176-WF-3366759-SCHWARTZ_0000018_1A0005227_0000002.pdf
21                                 0176-WF-3366759-SCHWARTZ_0000021.pdf
21                                 0176-WF-3366759-SCHWARTZ_0000021_Import.pdf
23                                 0176-WF-3366759-SCHWARTZ_0000023.pdf
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000001.jpeg
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000002.jpeg
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000003.jpeg
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000004.jpeg
23                                 0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000005.PNG
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000006.jpeg
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000007.jpeg
23                                 0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000008.pdf
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000009.jpeg
23                                 0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000010.pdf
23                                 0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000011.pdf
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000012.jpeg
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000013.jpeg
23                                R0176-WF-3366759-SCHWARTZ_0000023_1A0005203_0000014.jpeg
24                                 0176-WF-3366759-SCHWARTZ_0000024_1A0000005_0000001.png
26                                 0176-WF-3366759-SCHWARTZ_0000026_1A0000001_0000001.jpeg
26                                 0176-WF-3366759-SCHWARTZ_0000026_1A0000001_0000002.pdf
27                                 0176-WF-3366759-SCHWARTZ_0000027.pdf
28                                 0176-WF-3366759-SCHWARTZ_0000028.pdf
30                                 0176-WF-3366759-SCHWARTZ_0000030.pdf
30                                 0176-WF-3366759-SCHWARTZ_0000030_1A0007787_0000001.pdf
32                                 0176-WF-3366759-SCHWARTZ_0000032.pdf
32                                 0176-WF-3366759-SCHWARTZ_0000032_Import.pdf
32                                 0176-WF-3366759-SCHWARTZ_0000032_1A0000005_0000001.pdf
32                                 0176-WF-3366759-SCHWARTZ_0000032_1A0000005_0000002.pdf
     Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 6 of 22


32                                 0176-WF-3366759-SCHWARTZ_0000032_1A0000005_0000003.pdf
34                                 0176-WF-3366759-SCHWARTZ_0000034_1A0000002_0000001.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036_Import.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036_1A0000004_0000001.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036_1A0000004_0000002.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036_1A0000004_0000003.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036_1A0000004_0000004.pdf
36                                 0176-WF-3366759-SCHWARTZ_0000036_1A0000004_0000005.pdf
37                                 0176-WF-3366759-SCHWARTZ_0000037.pdf
37                                 0176-WF-3366759-SCHWARTZ_0000037_1A0007088_0000001.JPG
37                                 0176-WF-3366759-SCHWARTZ_0000037_1A0007088_0000002.JPG
37                                 0176-WF-3366759-SCHWARTZ_0000037_1A0007088_0000003.JPG
38                                 0176-WF-3366759-SCHWARTZ_0000038.pdf
38                                 0176-WF-3366759-SCHWARTZ_0000038_Import.pdf
38                                 0176-WF-3366759-SCHWARTZ_0000038_1A0000006_0000001.pdf
38                                 0176-WF-3366759-SCHWARTZ_0000038_1A0000006_0000002.pdf
38                                 0176-WF-3366759-SCHWARTZ_0000038_1A0000006_0000003.pdf
38                                 0176-WF-3366759-SCHWARTZ_0000038_1A0000006_0000004.pdf
40                                 0176-WF-3366759-SCHWARTZ_0000040.pdf
40                                 0176-WF-3366759-SCHWARTZ_0000040_1A0000007_0000001_PHYSICAL.pdf
41                                 0176-WF-3366759-SCHWARTZ_0000041.pdf
41                                 0176-WF-3366759-SCHWARTZ_0000041_1A0000009_0000001.pdf
41                                 0176-WF-3366759-SCHWARTZ_0000041_1A0000009_0000002.pdf
42                                 0176-WF-3366759-SCHWARTZ_0000042.pdf
42                                 0176-WF-3366759-SCHWARTZ_0000042_1A0000010_0000002.pdf
42                                 0176-WF-3366759-SCHWARTZ_0000042_1A0000010_0000003.jpg
42                                 0176-WF-3366759-SCHWARTZ_0000042_1A0000011_0000002.msg
42                                 0176-WF-3366759-SCHWARTZ_0000042_1A0000012_0000001.pdf
42                                 0176-WF-3366759-SCHWARTZ_0000042_1A0000012_0000002.pdf
42                                 0176-WF-3366759-SCHWARTZ_0000042_1A0000013_0000001_PHYSICAL.pdf
45                                 0176-WF-3366759-SCHWARTZ_0000045.pdf
45                                 0176-WF-3366759-SCHWARTZ_0000045_1A0000016_0000001.pdf
45                                 0176-WF-3366759-SCHWARTZ_0000045_1A0000016_0000002_PHYSICAL.pdf
45                                 0176-WF-3366759-SCHWARTZ_0000045_1A0000017_0000001.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046.pdf
     Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 7 of 22


46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000018_0000001.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000018_0000002.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000018_0000003.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000019_0000001.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000019_0000002.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000019_0000003.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000018_0000004.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000020_0000001_PHYSICAL.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000020_0000002.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000022_0000001.pdf
46                                 0176-WF-3366759-SCHWARTZ_0000046_1A0000021_0000001.pdf
47                                 0176-WF-3366759-SCHWARTZ_0000047.pdf
48                                 0176-WF-3366759-SCHWARTZ_0000048.pdf
48                                 0176-WF-3366759-SCHWARTZ_0000048_Import.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000001.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000002.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000003.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000004_PHYSICAL.pdf
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000005.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000006.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000007.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000008.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000009.JPG
48                                 0176-WF-3366759-SCHWARTZ_0000048_1A0000023_0000010.JPG
52                                 0176-WF-3366759-SCHWARTZ_0000052.pdf
55                                 0176-WF-3366759-SCHWARTZ_0000055.pdf
56                                 0176-WF-3366759-SCHWARTZ_0000056.pdf
56                                 0176-WF-3366759-SCHWARTZ_0000056_1A0000027_0000001.zip
57                                 0176-WF-3366759-SCHWARTZ_0000057_1A0009841_0000001.pdf
59                                 0176-WF-3366759-SCHWARTZ_0000059.pdf
60                                 0176-WF-3366759-SCHWARTZ_0000060.pdf
60                                 0176-WF-3366759-SCHWARTZ_0000060_Import.pdf
62                                 0176-WF-3366759-SCHWARTZ_0000062.pdf
62                                 0176-WF-3366759-SCHWARTZ_0000062_Import.pdf
62                                 0176-WF-3366759-SCHWARTZ_0000062_1A0000030_0000001.txt
63                                 0176-WF-3366759-SCHWARTZ_0000063.pdf
     Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 8 of 22


63                                 0176-WF-3366759-SCHWARTZ_0000063_Import.pdf
63                                 0176-WF-3366759-SCHWARTZ_0000063_1A0000029_0000001.png
63                                 0176-WF-3366759-SCHWARTZ_0000063_1A0000029_0000002.txt
63                                 0176-WF-3366759-SCHWARTZ_0000063_1A0000029_0000003.json
63                                 0176-WF-3366759-SCHWARTZ_0000063_1A0000029_0000004.png
63                                 0176-WF-3366759-SCHWARTZ_0000063_1A0000029_0000005.png
63                                 0176-WF-3366759-SCHWARTZ_0000063_1A0000029_0000006.png
65                                 0176-WF-3366759-SCHWARTZ_0000065.pdf
65                                 0176-WF-3366759-SCHWARTZ_0000065_Import.msg
66                                 0176-WF-3366759-SCHWARTZ_0000066.pdf
67                                00176-WF-3366759-SCHWARTZ_0000067.pdf
67                                 0176-WF-3366759-SCHWARTZ_0000067_1A0000026_0000001_PHYSICAL.pdf
68                                 0176-WF-3366759-SCHWARTZ_0000068.pdf
68                                 0176-WF-3366759-SCHWARTZ_0000068_Import.pdf
70                                 0176-WF-3366759-SCHWARTZ_0000070.pdf
70                                 0176-WF-3366759-SCHWARTZ_0000070_Import.mp4
70                                 0176-WF-3366759-SCHWARTZ_0000070_1A0000009_0000001_PHYSICAL.pdf
71                                 0176-WF-3366759-SCHWARTZ_0000071.pdf
71                                 0176-WF-3366759-SCHWARTZ_0000071_Import.rtf
72                                 0176-WF-3366759-SCHWARTZ_0000072.pdf
72                                 0176-WF-3366759-SCHWARTZ_0000072_1A0000001_0000001.pdf
72                                 0176-WF-3366759-SCHWARTZ_0000072_1A0000001_0000002.PNG
74                                 0176-WF-3366759-SCHWARTZ_0000074.pdf
76                                 0176-WF-3366759-SCHWARTZ_0000076.pdf
76                                 0176-WF-3366759-SCHWARTZ_0000076_1A0000004_0000001.csv
                                          Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 9 of 22


              Addendum B - May 24, 2021
Serial        Title                                                      File Name
          3                                                              0176-WF-3366759-SCHWARTZ_0000003.pdf
          3                                                              0176-WF-3366759-SCHWARTZ_0000003_Import.pdf
          3                                                              0176-WF-3366759-SCHWARTZ_0000003_1A0015263_0000001.pdf
         10                                                              0176-WF-3366759-SCHWARTZ_0000010_1A0003185_0000001.pdf
         17                                                              0176-WF-3366759-SCHWARTZ_0000017.pdf
         18                                                              0176-WF-3366759-SCHWARTZ_0000018_1A0005226_0000001.pdf
         19                                                              0176-WF-3366759-SCHWARTZ_0000019.pdf
         19                                                              0176-WF-3366759-SCHWARTZ_0000019_1A0008154_0000001.pdf
         20                                                              0176-WF-3366759-SCHWARTZ_0000020.pdf
         20                                                              0176-WF-3366759-SCHWARTZ_0000020_1A0008203_0000001.pdf
         37                                                              0176-WF-3366759-SCHWARTZ_0000037_1A0007088_0000004.pdf
         43                                                              0176-WF-3366759-SCHWARTZ_0000043.pdf
         43                                                              0176-WF-3366759-SCHWARTZ_0000043_1A0000014_0000001_PHYSICAL.pdf
         44                                                              0176-WF-3366759-SCHWARTZ_0000044.pdf
         44                                                              0176-WF-3366759-SCHWARTZ_0000044_1A0000015_0000001_PHYSICAL.pdf
         50                                                              0176-WF-3366759-SCHWARTZ_0000050.pdf
         50                                                              0176-WF-3366759-SCHWARTZ_0000050_1A0000007_0000001.pdf
         50                                                              0176-WF-3366759-SCHWARTZ_0000050_1A0000007_0000002.pdf
         51                                                              0176-WF-3366759-SCHWARTZ_0000051.pdf
         51                                                              0176-WF-3366759-SCHWARTZ_0000051_1A0000008_0000001.pdf
         51                                                              0176-WF-3366759-SCHWARTZ_0000051_1A0000008_0000002.pdf
         64                                                              0176-WF-3366759-SCHWARTZ_0000064.pdf
         64                                                              0176-WF-3366759-SCHWARTZ_0000064_1A0000010_0000001.pdf
         64                                                              0176-WF-3366759-SCHWARTZ_0000064_1A0000010_0000002.pdf
         75                                                              0176-WF-3366759-SCHWARTZ_0000075.pdf
         75                                                              0176-WF-3366759-SCHWARTZ_0000075_1A0007937_0000001.pdf
                                      Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 10 of 22


              Addendum C - May 24, 2021
Serial        Title                                                File Name
         15                                                        0176-WF-3366759-SCHWARTZ_0000015_1A0000003_0000001.pdf
         22                                                        0176-WF-3366759-SCHWARTZ_0000022.pdf
         24                                                        0176-WF-3366759-SCHWARTZ_0000024.pdf
         25                                                        0176-WF-3366759-SCHWARTZ_0000025.pdf
         26                                                        0176-WF-3366759-SCHWARTZ_0000026.pdf
         26                                                        0176-WF-3366759-SCHWARTZ_0000026_1A0000001_0000003.pdf
         29                                                        0176-WF-3366759-SCHWARTZ_0000029.pdf
         31                                                        0176-WF-3366759-SCHWARTZ_0000031.pdf
         33                                                        0176-WF-3366759-SCHWARTZ_0000033.pdf
         49                                                        0176-WF-3366759-SCHWARTZ_0000049.pdf
         49                                                        0176-WF-3366759-SCHWARTZ_0000049_Import.JPG
         49                                                       S0176-WF-3366759-SCHWARTZ_0000049_1A0000024_0000001_PHYSICAL.pdf
         57                                                       o0176-WF-3366759-SCHWARTZ_0000031.pdf
         74                                                        0176-WF-3366759-SCHWARTZ_0000074_1A0000006_0000001.pdf
         74                                                        0176-WF-3366759-SCHWARTZ_0000074_1A0000006_0000002.msg
                                  Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 11 of 22


             Addendum D - May 25, 2021
Grand Jury Transcript -          3.3.2021
GJ Ex. 1 - BOLO.png
GJ Ex. 1 -       BWC.mp4
GJ Ex. 2A - Screenshot.JPG
GJ Ex. 2B - Screenshot.JPG
GJ Ex. 2C - Screenshot.JPG
GJ Ex. 3 -      BWC.mp4
GJ Ex. 4 - LWT Arch.mp4
GJ Ex. 5 - Farina Video Clip.mp4
GJ Ex. 6 - Baton Photo.JPG
GJ Ex. 7 - Text Message.JPG
GJ Ex. 8 - Tex Message 2.JPG
GJ Ex. 9 - Text Message 3.JPG
GJ Ex. 10 - Text Message 4.JPG
                                   Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 12 of 22


              Addendum E - June 25, 2021
Serial        Title                                            File Name

         13                                                    0176-WF-3366759-SCHWARTZ_0000013.pdf
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000001.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000002.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000003.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000004.pnX
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000005.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000006.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000007.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000008.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000009.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000010.jfif
         13                                                    0176-WF-3366759-SCHWARTZ_0000013_1A0000002_0000011.jpg
       Addendum F           Case 1:21-cr-00178-APM Document 36-1 Filed 09/09/21 Page 13 of 22


Title                                                       Uploaded by           Recorded on            Duration
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 17:29:18   30m 2s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 17:06:55   14m 13s
20210106- RIOTOUS ACTS- US CAPITAL COMPLEX                                        06 Jan 2021 17:01:40   17m 46s
20210107- CDU 54                                                                  06 Jan 2021 16:58:17   2m 7s
2021-01-06 1ST AMENDMENT PROTEST-RIOT US CAPITOL                                  06 Jan 2021 16:55:03   3m 14s
01062021 - CDU - CAPITOL                                                          06 Jan 2021 16:49:01   30m 28s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:48:23   29m 10s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:48:00   30m 16s
20210106-FELONYRIOT-FIRSTSTSE                                                     06 Jan 2021 16:44:45   23m 2s
20210106-RIOT-FIRST ST SE                                                         06 Jan 2021 16:40:53   8m 59s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:35:08   13m 40s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:30:28   18m 52s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:29:04   56m 36s
2021-01-06 1ST AMENDMENT PROTEST-RIOT US CAPITOL                                  06 Jan 2021 16:27:37   24m 42s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:26:29   2m 28s
20210106- RIOTOUS ACTS- US CAPITAL COMPLEX                                        06 Jan 2021 16:26:27   14m 13s
(Clip Assault.1) 20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                         06 Jan 2021 16:24:54   37s
(Clip Assault.2) 20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                         06 Jan 2021 16:24:54   36s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:24:54   51m 52s
        16:27:10-16:28:10                                                         06 Jan 2021 16:24:54   59s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:24:47   34m 15s
          ssault                                                                  06 Jan 2021 16:24:47   56s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX.                                     06 Jan 2021 16:24:33   54m 56s
20210106 - CDU - 1D                                                               06 Jan 2021 16:24:27   1h 4m
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 16:24:09   23m 17s
Axon Body 3 Video 2021-01-06 1624                                                 06 Jan 2021 16:24:09   1h 22m
          16:27:28-16:28:10                                                       06 Jan 2021 16:24:07   44s
20210106-FELONY APO/RIOTOUS ACTS-US CAPITOL COMPLEX                               06 Jan 2021 16:24:07   1h 44m
FBI APO investigation-Agent      -BWC of                                          06 Jan 2021 16:24:07   7m 4s
FBI investigation-Agent        -BWC of                                            06 Jan 2021 16:24:07   21m 8s
          16:30:31-16:32:56                                                       06 Jan 2021 16:24:07   2m 27s
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20210106- Riotous Act- US Capital Complex                                         06 Jan 2021 16:24:00   13m 31s
        16:32:08-16:32:20                                                         06 Jan 2021 16:22:27   14s
FBI APO investigation-Agent                                                       06 Jan 2021 16:22:27   1m 26s
20210106- RIOTOUS ACTS- US CAPITAL COMPLEX                                        06 Jan 2021 16:22:27   18m 3s
20210106 - FELONY RIOTS - US CAPITAL BUILDING                                     06 Jan 2021 16:21:45   16m 0s
20210106 - FELONY RIOTING ASSIST                                                  06 Jan 2021 16:14:58   1h 1m
20210106 - FIRST AMENDMENT - FIRST ST SE                                          06 Jan 2021 16:12:42   21m 26s
20210106 - RIOT - CAPITAL BUILDING                                                06 Jan 2021 16:10:38   1h 55m
20210106-RIOT-FIRST ST SE                                                         06 Jan 2021 16:09:47   13m 7s
20210107- CDU 54- CAPITOL                                                         06 Jan 2021 16:00:57   9m 8s
20210106 - Felony Riot - US Capitol                                               06 Jan 2021 16:00:22   17m 55s
20210106 - RIOT - US CAPITOL                                                      06 Jan 2021 15:59:45   1h 16m
20210106 - FELONY RIOTS - US CAPITAL BUILDING                                     06 Jan 2021 15:58:09   21m 40s
20210106-FELONY RIOT-US CAPITOL BUILDING                                          06 Jan 2021 15:56:06   12m 23s
20210106 - Riot - US CAPITOL                                                      06 Jan 2021 15:55:45   30m 36s
desk top thrown                                                                   06 Jan 2021 15:55:04   5m 1s
attack with baton                                                                 06 Jan 2021 15:55:04   5m 2s
20210106-FELONY RIOTS-US CAPITOL                                                  06 Jan 2021 15:55:04   1h 19m
FBI investigation-Agent                                                           06 Jan 2021 15:55:04   20m 28s
20200106 - Felony Riot - US Capitol                                               06 Jan 2021 15:54:31   49m 44s
20210106-FELONYRIOT-FIRSTSTSE                                                     06 Jan 2021 15:54:22   24m 2s
Axon Body 3 Video 2021-01-06 1553                                                 06 Jan 2021 15:53:34   26m 29s
20210106 - RIOT - CAPITAL BUILDING                                                06 Jan 2021 15:53:15   2m 48s
20210106-FELONYRIOT-FIRSTSTSE                                                     06 Jan 2021 15:52:52   1h 27m
20210106 - Felony Riot - US Capitol                                               06 Jan 2021 15:52:21   2m 56s
20210106 - RIOTING -US CAPITOL                                                    06 Jan 2021 15:51:04   1h 46m
20210106- OTHER- US CAPITOL                                                       06 Jan 2021 15:51:01   24m 35s
20210107- CDU 54 CAPITOL                                                          06 Jan 2021 15:50:12   6m 20s
20210106-FELONYRIOT-FIRSTSTSE                                                     06 Jan 2021 15:49:09   7m 8s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                                      06 Jan 2021 15:37:46   39m 11s
20210106 - RIOT - US CAPITOL                                                      06 Jan 2021 15:26:13   33m 40s
20210106 - FIRST AMENDMENT - US CAPITOL                                           06 Jan 2021 15:24:51   12m 23s
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20210106-ROBBERY/APO-U.S. CAPITOL GROUNDS-                                        06 Jan 2021 15:18:41   21m 15s
(Clip 2.1) 20210106-ROBBERY/APO-U.S. CAPITOL GROUNDS-                             06 Jan 2021 15:18:41   3m 12s
20210106 - FELONY RIOT - US CAPITOL                                               06 Jan 2021 15:17:59   59m 30s
20210106-FELONYRIOT-FIRSTSTSE                                                     06 Jan 2021 15:17:20   20m 10s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                                      06 Jan 2021 15:16:02   20m 52s
(Clip 2.1) 20210106 - RIOT - CAPITAL BUILDING                                     06 Jan 2021 15:15:08   5m 16s
20210106 - RIOT - CAPITAL BUILDING                                                06 Jan 2021 15:15:08   6m 41s
01062021 - CDU - CAPITOL                                                          06 Jan 2021 15:13:22   1h 34m
20210107- CDU 54- CAPITOL                                                         06 Jan 2021 15:10:28   35m 20s
(Clip 1.1) 20210106 - FIRST AMENDMENT - FIRST ST SE                               06 Jan 2021 15:10:13   2m 41s
(Clip 1.2) 20210106 - FIRST AMENDMENT - FIRST ST SE                               06 Jan 2021 15:10:13   2m 41s
20210106 - FIRST AMENDMENT - FIRST ST SE                                          06 Jan 2021 15:10:13   46m 49s
20210106 - Riot - US Capitol                                                      06 Jan 2021 15:09:44   30m 31s
20210106 - Rioting - US Capitol Building                                          06 Jan 2021 15:07:50   7m 6s
20210106-FELONY RIOT-US CAPITOL BUILDING                                          06 Jan 2021 15:07:50   4m 21s
20210106-FELONY RIOTS-US CAPITOL                                                  06 Jan 2021 15:05:16   23m 47s
20210106-ROBBERY/APO-U.S. CAPITOL GROUNDS-                                        06 Jan 2021 15:04:43   15m 54s
FBI Investigation-                                                                06 Jan 2021 15:02:54   4m 3s
20210106 - Felony Riot - US Capitol                                               06 Jan 2021 15:02:54   16m 15s
FBI Investigation                                                                 06 Jan 2021 15:00:39   6m 39s
20210106 - Rioting - US Capitol Building                                          06 Jan 2021 15:00:39   6m 40s
20210106 - FIRST AMENDMENT - FIRST ST SE                                          06 Jan 2021 14:48:45   4m 54s
20210106- OTHER- US CAPITOL                                                       06 Jan 2021 14:46:56   43m 38s
 20210106- RIOTOUS ACTS- US CAPITAL COMPLEX                                       06 Jan 2021 14:46:15   1h 30m
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 14:44:50   1h 36m
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                                      06 Jan 2021 14:43:54   30m 54s
20210106- FELONY RIOT/APO- FIRST ST SE                                            06 Jan 2021 14:43:07   21m 26s
20210106-FELONY RIOTS-US CAPITOL                                                  06 Jan 2021 14:42:55   4m 14s
  20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                        06 Jan 2021 14:41:08   23m 20s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                          06 Jan 2021 14:37:54   1h 40m
 20210106- RIOTOUS ACTS- US CAPITAL COMPLEX                                       06 Jan 2021 14:35:20   10m 14s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                                      06 Jan 2021 14:34:23   1h 47m
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FBI APO investigation-                                                               06 Jan 2021 14:34:23   11m 13s
FBI APO investigation-                                                               06 Jan 2021 14:34:23   11m 13s
20210106-RIOTOUS ACTS-US CAPTIOLC COMPLEX                                            06 Jan 2021 14:33:50   1h 43m
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                                             06 Jan 2021 14:33:41   1h 50m
                                                                                     06 Jan 2021 14:33:41   9s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                                         06 Jan 2021 14:30:09   11m 49s
20210106-RIOT-FIRST ST SE                                                            06 Jan 2021 14:28:37   1h 40m
20210106- RIOTOUS ACT- US CAPITAL COMPLEX                                            06 Jan 2021 14:27:58   2h 29m
FBI investigation                                                                    06 Jan 2021 14:27:58   10m 45s
(Clip 4.1) Axon Body 3 Video 2021-01-06 1413                                         06 Jan 2021 14:13:09   30m 43s
FBI investigation                                                                    06 Jan 2021 14:13:09   18m 45s
Axon Body 3 Video 2021-01-06 1413                                                    06 Jan 2021 14:13:09   1h 42m
20210106- FELONY RIOT- FIRST ST SE                                                   06 Jan 2021 14:06:47   38m 19s
20210106 - FELONY RIOT - US CAPITOL                                                  06 Jan 2021 14:04:19   1h 15m
20210106-FELONY RIOTS-US CAPITOL                                                     06 Jan 2021 14:04:11   36m 41s
(Clip 2.1) 20210106-FELONYRIOT-FIRSTSTSE                                             06 Jan 2021 13:57:51   5m 1s
20210106-FELONYRIOT-FIRSTSTSE                                                        06 Jan 2021 13:57:51   1h 21m
36:56 - 38:50 01/06/2020 - Felony Riot - US Capitol                                  06 Jan 2021 13:57:41   1m 55s
01/06/2020 - Felony Riot - US Capitol                                                06 Jan 2021 13:57:41   48m 34s
FBI investigation                                                                    06 Jan 2021 13:56:32   1m 39s
20210106-US Capitol-APO                                                              06 Jan 2021 13:56:32   1h 22m
(Clip 6.1) 20210106 - Riot - US CAPITOL                                              06 Jan 2021 13:55:42   5m 2s
                                                                                     06 Jan 2021 13:55:42   1m 39s
FBI investigation-                                                                   06 Jan 2021 13:55:42   19m 3s
(Clip 6.1) 20210106 - Riot - US CAPITOL                                              06 Jan 2021 13:55:42   5m 1s
20210106 - Riot - US CAPITOL                                                         06 Jan 2021 13:55:42   1h 14m
(Clip 2.1) 20210106-FELONY RIOT-US CAPITOL BUILDING                                  06 Jan 2021 13:55:41   42s
FBI APO investigation                                                                06 Jan 2021 13:55:41   60s
20210106 - FELONY RIOTS - US CAPITAL BUILDING                                        06 Jan 2021 13:55:41   53m 37s
20210106-FELONY RIOT-US CAPITOL BUILDING                                             06 Jan 2021 13:55:41   1h 9m
20210106- Felony Riots- First St SE                                                  06 Jan 2021 13:55:41   2h 31m
20210106- FELONY RIOT- FIRST ST SE                                                   06 Jan 2021 13:55:41   8m 13s
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39:10 - 40:50                                                                          06 Jan 2021 13:55:40   1m 41s
20210106 - FIRST AMENDMENT - FIRST ST SE                                               06 Jan 2021 13:55:40   51m 59s
FBI investigation-                                                                     06 Jan 2021 13:55:38   2m 7s
20210106 - Felony Riot - US Capitol                                                    06 Jan 2021 13:55:38   1h 48m
FBI Investigation                                                                      06 Jan 2021 13:52:04   8m 7s
20210106 - Rioting - United States Capitol Building                                    06 Jan 2021 13:52:04   1h 7m
(Clip 7.1) 20210106 - RIOT - US CAPITOL                                                06 Jan 2021 13:49:16   8m 54s
                                                                                       06 Jan 2021 13:49:16   5m 1s
FBI investigation                                                                      06 Jan 2021 13:49:16   19m 11s
20210106 - RIOT - US CAPITOL                                                           06 Jan 2021 13:49:16   1h 20m
Dispersal Audio                                                                        06 Jan 2021 13:49:16   31s
          3:56:45 - 13:57:22                                                           06 Jan 2021 13:46:30   38s
FBI APO investigation                                                                  06 Jan 2021 13:46:30   1m 14s
FBI APO investigation                                                                  06 Jan 2021 13:46:30   59s
FBI APO investigation                                                                  06 Jan 2021 13:46:30   1m 14s
(Clip 1.1)        14:040:23-14:04:45                                                   06 Jan 2021 13:46:30   23s
        14:33:47-14:33:58                                                              06 Jan 2021 13:46:30   12s
        14:40:10-14:04:45                                                              06 Jan 2021 13:46:30   35s
2021-01-06-First Amendment                                                             06 Jan 2021 13:46:30   1h 51m
FBI investigation-                                                                     06 Jan 2021 13:38:49   17m 34s
14:35:03 - 14:35:31                                                                    06 Jan 2021 13:38:49   39s
14:35:03 - 14:35:31                                                                    06 Jan 2021 13:38:49   39s
14:35:03 - 14:35:31                                                                    06 Jan 2021 13:38:49   39s
01062021 - CDU - CAPITOL                                                               06 Jan 2021 13:38:49   1h 35m
14:35:03 - 14:35:31                                                                    06 Jan 2021 13:38:49   39s
20210106 - RIOT - US CAPITOL                                                          306 Jan 2021 13:32:10   1h 8m
Foulds 14:27:45-14:27:56                                                               06 Jan 2021 13:29:49   12s
Foulds 14:33:45-14:33:55                                                               06 Jan 2021 13:29:49   12s
FBI APO investigation-                                                                 06 Jan 2021 13:29:49   54s
20210106- OTHER- US CAPITOL                                                            06 Jan 2021 13:29:49   1h 13m
20210106 - RIOT - CAPITAL BUILDING                                                     06 Jan 2021 13:29:49   1h 25m
(Clip 1.1) 20210106 - RIOTING - US CAPITOL                                             06 Jan 2021 13:24:37   10m 1s
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(Clip 1.2) 20210106 - RIOTING - US CAPITOL                                          6 Jan 2021 13:24:37   10m 1s
20210106 - RIOTING - US CAPITOL                                                     6 Jan 2021 13:24:37   2h 23m
FBI APO investigation                                                               6 Jan 2021 13:21:41   25s
Rioter swings at police officers                                                    6 Jan 2021 13:21:41   1m 2s
20210106-First Amendment Assembly-unit Capital Pl Se                                6 Jan 2021 13:21:41   2h 51m
FBI APO investigation-Suspect                                                       6 Jan 2021 13:20:40   1m 58s
                                                                                    6 Jan 2021 13:20:40   10m 27s
                                                                                    6 Jan 2021 13:20:40   3m 27s
20210106 - FIRST AMENDMENT ASSEMBLY - US CAPITAL                                    6 Jan 2021 13:20:40   1h 52m
FBI investigation                                                                   6 Jan 2021 13:20:29   7m 53s
20210106 - FIRST AMENDMENT - US CAPITOL                                             6 Jan 2021 13:20:29   1h 42m
FBI investigation                                                                   6 Jan 2021 13:12:27   1m 44s
FBI investigation                                                                   6 Jan 2021 13:12:27   6m 48s
FBI Investigation                                                                   6 Jan 2021 13:12:27   33s
20210106- CDU 54- CAPITOL                                                           6 Jan 2021 13:12:27   1h 35m
20210106 - Riot - First St SE                                                       6 Jan 2021 13:12:20   2h 18m
20210106 - FELONY RIOTING                                                           6 Jan 2021 13:12:16   2h 0m
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Title                                          Owner                 Recorded on            Duration
20210106 1827 US Capital                                             06 Jan 2021 18:27:35   4m 59s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                            706 Jan 2021 17:53:05   3m 56s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                             06 Jan 2021 17:52:47   4m 17s
210106 - FELONY RIOTS - US CAPTIOL                                   06 Jan 2021 17:41:37   22m 4s
20210106-First St SE-US CAPITOL                                      06 Jan 2021 17:41:20   25m 0s
20210106-First St SE-US CAPITOL                                      06 Jan 2021 17:31:17   8m 19s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                         06 Jan 2021 17:31:16   33m 26s
Axon Body 3 Video 2021-01-06 1728                                    06 Jan 2021 17:28:24   40m 9s
Axon Body 3 Video 2021-01-06 1726                                    06 Jan 2021 17:26:57   23m 1s
20210106- RIOT- US CAPITOL                                           06 Jan 2021 17:23:16   37m 34s
Axon Body 3 Video 2021-01-06 1722                                    06 Jan 2021 17:22:22   4m 18s
20210106 1720 US Capital                                             06 Jan 2021 17:20:50   2m 7s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                             06 Jan 2021 17:08:55   5m 49s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                         06 Jan 2021 17:05:29   21m 41s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                            706 Jan 2021 17:05:05   39m 28s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                             06 Jan 2021 16:59:37   47m 41s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                             06 Jan 2021 16:58:25   11m 17s
20210106- RIOT- US CAPITOL                                           06 Jan 2021 16:55:33   24m 42s
Axon Body 3 Video 2021-01-06 1652                                    06 Jan 2021 16:52:58   15m 34s
20210106 Riot US Capitol Grounds                                     06 Jan 2021 16:52:38   5m 6s
20210106 - FELONY RIOT - US CAPITOL                                  06 Jan 2021 16:48:15   32m 59s
210106 - FELONY RIOTS - US CAPITOL                                   06 Jan 2021 16:46:47   37m 29s
Axon Body 3 Video 2021-01-06 1645                                    06 Jan 2021 16:45:12   30m 48s
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                         06 Jan 2021 16:43:49   31m 48s
20210106 Riot US Capitol Grounds                                     06 Jan 2021 16:40:14   11m 48s
Axon Body 3 Video 2021-01-06 1638                                    06 Jan 2021 16:38:01   12m 18s
2021-01-06us CAPITOL                                                 06 Jan 2021 16:28:33   45m 26s
20210106 -RIOTOUS ACTS- US CAPITOL COMPLEX                           06 Jan 2021 16:27:19   24m 58s
210106 - FELONY RIOTS - US CAPTIOL                                   06 Jan 2021 16:26:34   2m 9s
20210106 -RIOTOUS ACTS- US CAPITOL COMPLEX                           06 Jan 2021 16:26:30   2m 28s
20210106 - FELONY RIOT - US CAPITOL                                  06 Jan 2021 16:25:07   25m 5s
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Axon Body 3 Video 2021-01-06 1623                                     06 Jan 2021 16:23:55   59m 9s
20210106 Riot US Capitol Grounds                                      06 Jan 2021 16:22:40   13m 44s
Axon Body 3 Video 2021-01-06 1621                                     06 Jan 2021 16:21:53   7m 51s
20200106-FELONYRIOT-FIRSTSTSE                                         06 Jan 2021 16:11:48   9m 60s
20210106-FELONYRIOT-FIRSTSTSE                                         06 Jan 2021 16:11:15   1h 30m
2021-01-06 US CAPITOL                                                 06 Jan 2021 16:04:12   23m 28s
20210106-RIOT-US CAPITOL                                              06 Jan 2021 16:01:12   4m 23s
Felony Riots Capital Building                                         06 Jan 2021 15:58:23   21m 21s
2021-01-06 US CAPITOL                                                 06 Jan 2021 15:57:48   4m 9s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 15:56:57   1h 2m
Axon Body 3 Video 2021-01-06 1556                                     06 Jan 2021 15:56:50   33m 30s
20210106-FELONYRIOT-FIRSTSTSE                                         06 Jan 2021 15:55:44   1m 30s
20210106 - ASSEMBLY - US CAPITOL GROUNDS                              06 Jan 2021 15:54:15   53m 49s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 15:53:55   59m 27s
20210106- FIRST AMENDMENT ACTIVITY- WASHING                           06 Jan 2021 15:51:02   31m 55s
20210106- OTHER- US CAPITOL                                           06 Jan 2021 15:51:01   24m 35s
Axon Body 3 Video 2021-01-06 1524                                     06 Jan 2021 15:24:53   34m 52s
20210106 - FIRST AMENDMENT ACTIVITY- WASHING                          06 Jan 2021 15:23:50   20m 12s
2021-01-06 cAPITIOL                                                   06 Jan 2021 15:19:43   4m 29s
Felony Riots Capital Building                                         06 Jan 2021 15:17:22   19m 51s
20210106-FELONYRIOT-FIRSTSTSE                                         06 Jan 2021 15:16:56   4m 50s
20210106 - ASSEMBLY - US CAPITOL GROUNDS                              06 Jan 2021 15:12:55   11m 27s
20210106 - ASSEMBLY - US CAPITOL GROUNDS                              06 Jan 2021 15:10:09   30s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 15:04:28   31m 18s
20210106 Riot US Capitol Grounds                                      06 Jan 2021 14:56:24   55m 44s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 14:50:57   2h 34m
20210106 - 1ST AMMENDMENT - CAPITAL BUILDING                          06 Jan 2021 14:47:05   1h 1m
20210106- OTHER- US CAPITOL                                           06 Jan 2021 14:46:56   43m 38s
20210106-FELONYRIOT-FIRSTSTSE                                         06 Jan 2021 14:46:27   4m 21s
20210106 Riot US Capitol Grounds                                      06 Jan 2021 14:45:14   12m 12s
20210106 - CAPITOL SIEGE - UNITED STATES CAPITOL                      06 Jan 2021 14:44:54   3h 24m
20210106-FIRST AMENDMENT ASSEMBLY-300 MARY                            06 Jan 2021 14:44:14   18m 42s
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20210106-Firts St SE-US CAPITOL                                       06 Jan 2021 14:39:54   2h 41m
20210106 - FELONY RIOT - US CAPITOL                                   06 Jan 2021 14:39:53   1h 39m
20210106 -RIOTOUS ACTS- US CAPITOL COMPLEX                            06 Jan 2021 14:39:44   1h 16m
210106 - FELOMY RIOTS - US CAPITOL                                    06 Jan 2021 14:39:41   1h 39m
20210106 - 1ST AMMENDMENT - US CAPITAL                                06 Jan 2021 14:38:29   2m 52s
20210106 Riot US Capitol Grounds                                      06 Jan 2021 14:38:21   3m 53s
20210106- RIOT- US CAPITOL                                            06 Jan 2021 14:24:38   2h 4m
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 14:13:52   1h 27m
20210106-FIRST AMENDMENT ASSEMBLY-US CAPITO                           06 Jan 2021 14:13:09   3h 16m
Video with Injury Seen - Scene of APO                                 06 Jan 2021 14:12:37   35m 1s
FBI investigation                                                     06 Jan 2021 13:58:54   15m 7s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 13:58:54   1h 40m
 20210106 - FIRST AMENDMENT ASSEMBLY- WASHIN                          06 Jan 2021 13:57:53   1h 17m
FBI Investigation                                                     06 Jan 2021 13:55:41   60s
(Clip 3.1) 0210106-FELONYRIOT-FIRSTSTSE                               06 Jan 2021 13:55:41   1m 46s
0210106-FELONYRIOT-FIRSTSTSE                                          06 Jan 2021 13:55:41   2h 8m
20210106-FELONYRIOT-FIRSTSTSE                                         06 Jan 2021 13:55:39   8m 17s
Axon Body 3 Video 2021-01-06 1342                                     06 Jan 2021 13:42:54   2h 2m
2021006-FIRST AMENDMENT ASSEMBLY-300 MARYLA                           06 Jan 2021 13:42:50   57m 13s
       14:12:17 - 14:12:39                                            06 Jan 2021 13:36:23   25s
 20210106-US CAPITOL RIOT-FIRST STREET NE                             06 Jan 2021 13:36:23   51m 4s
FBI APO investigation                                                 06 Jan 2021 13:36:23   39s
2021-01-06 US CAPITOL                                                 06 Jan 2021 13:33:43   3m 49s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 13:32:43   29m 34s
Felony riots Capital Building                                         06 Jan 2021 13:30:56   1h 48m
20210106- OTHER- US CAPITOL                                           06 Jan 2021 13:29:49   1h 13m
20210106 - felony rioting - US Capitol                                06 Jan 2021 13:29:44   2h 52m
20210106-RIOT-US CAPITOL                                              06 Jan 2021 13:24:07   2h 33m
20210106 - CAPITOL SEIGE - UNITED STATES CAPITOL                      06 Jan 2021 13:24:00   1h 16m
20210106 1321 US Capital                                              06 Jan 2021 13:21:02   2h 14m
20210106 - ASSEMBLY - US CAPITOL GROUNDS                              06 Jan 2021 13:20:57   1h 49m
Axon Body 3 Video 2021-01-06 1320                                     06 Jan 2021 13:20:54   2h 47m
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20210106 - PROTEST - US CAPITAL                                       06 Jan 2021 13:20:50   4h 39m
           4:31:31-14:32:29                                           06 Jan 2021 13:20:15   59s
Axon Body 3 Video 2021-01-06 1320                                     06 Jan 2021 13:20:15   1h 39m
20210106 - PROTEST - US CAPITAL                                       06 Jan 2021 13:19:24   2m 30s
Axon Body 3 Video 2021-01-06 1319                                     06 Jan 2021 13:19:12   1h 32m
20210106-DEMO-CAPITOL GROUNDS                                         06 Jan 2021 13:17:08   1h 5m
Axon Body 3 Video 2021-01-06 1315                                     06 Jan 2021 13:15:50   6m 6s
20210106-FELONY RIOT-THE CAPITOL                                      06 Jan 2021 13:15:46   4h 45m
20210106 - RIOTOUS ACTS - US CAPITOL COMPLEX                          06 Jan 2021 13:03:06   3h 37m
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 13:03:01   25m 0s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                             706 Jan 2021 13:03:01   1h 42m
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 13:03:01   54m 23s
(Clip 6.1) 20210106-RIOTOUS ACTS-US CAPITOL COM                       06 Jan 2021 13:03:00   5m 1s
(Clip 6.2) 20210106-RIOTOUS ACTS-US CAPITOL COM                       06 Jan 2021 13:03:00   58s
20210106-RIOTOUS ACTS-US CAPITOL COMPLEX                              06 Jan 2021 13:03:00   1h 39m
Axon Body 3 Video 2021-01-06 1230                                     06 Jan 2021 12:30:31   3m 27s
